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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                   ROME DIVISION

     IN RE: ERIC MARK WATSON AND               {   CHAPTER 13
            OTILIA MARIE WATSON,               {
                                               {
             DEBTOR(S)                         {   CASE NO. R18-40075-PWB
                                               {
                                               {   JUDGE BONAPFEL


                             OBJECTION TO CONFIRMATION


          COMES NOW MARY IDA TOWNSON, TRUSTEE herein, and objects to
     Confirmation of the plan for the following reasons:

          1. The Debtor(s)' payments under the proposed plan are
     not current.

          2. The box in part 1 of the plan is not checked. However,
     in Section 4.4 the Debtors lists a domestic support obligation.

          3. The box checked in Section 4.4 of the plan appears to
     be inaccurate.

          4. Pursuant to the proposed plan, the Debtor has a
     domestic support obligation. Prior to confirmation the Debtor
     must provide to the Trustee evidence that all payments that have
     come due since the filing of the petition have been maintained.
     11 U.S.C. Section 1325(a)(8).

          5. The Debtor has failed to file tax returns with the tax
     authorities for the four (4) year period prior to filing in
     violation of 11 U.S.C. Section 1308.

          6. Pursuant to information received from the Meeting of
     Creditors, 2016 state and federal tax return(s)for Debtor Otilia
     Watson have not been provided to the taxing authorities;
     thereby, preventing the Chapter 13 Trustee from evaluating the
     feasibility of the Chapter 13 plan, in violation of 11 U.S.C.
     Section 1322(d) and 1325(a)(6).

          7. The Debtor(s) have failed to provide adequate notice
     to Tonya Hill, in violation of 11 U.S.C. Section 342.

     Mary Ida Townson, Chapter 13 Trustee
     Suite 2200 – 191 Peachtree Street, N.E.
     Atlanta, GA 30303-1740
     (404) 525-1110
     albertg@atlch13tt.com
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          WHEREFORE, the Trustee moves the Court to inquire into the
     above objections, deny Confirmation of this Debtor's (s') Plan
     and to dismiss the case; or, in the alternative, convert the
     case to one under Chapter 7.




                                      __________/s/_____________
                                      Albert C. Guthrie, Attorney
                                      for Chapter 13 Trustee
                                      GA Bar No. 142399




     Mary Ida Townson, Chapter 13 Trustee
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     R18-40075-PWB

                              CERTIFICATE OF SERVICE


           This is to certify that I have this day served

     DEBTOR(S):

     ERIC MARK WATSON
     1403 HWY 411 SOUTH
     CHATSWORTH, GA 30705

     OTILIA MARIE WATSON
     1403 HWY. 411 SOUTH
     CHATSWORTH, GA 30705

     ATTORNEY FOR DEBTOR(S):

     CHRIS RAMPLEY
     P O BOX 927
     ROME, GA 30162-0927

     in the foregoing matter with a copy of this pleading by
     depositing in the United States Mail a copy of same in a
     properly addressed envelope with adequate postage thereon.

     This 21st day of February 2018




                /s/              _
     Albert C. Guthrie, Attorney
     for Chapter 13 Trustee
     GA Bar No. 142399




     Mary Ida Townson, Chapter 13 Trustee
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